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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 NORMAN CHAPIN,

               Plaintiff,

                      v.                           CASE NO. 3:23-CV-450-DRL-MGG

 FOREST RIVER, INC., JEFF COUCH
 CAMPERS LLC, DOES 1-25,

               Defendants.

                                         ORDER

       On November 29, 2023, the Court held a telephonic status conference for the

purpose of selecting an appropriate date in conducting a settlement conference.

Appearing for Plaintiffs was Robert F. Brennan PHV and Keith R Hagan; for Defendant

was Thomas Jackson Bemenderfer.

       The Court hereby schedules a settlement conference by video teleconference

(Zoom Gov) in this case for January 23, 2024 at 11:00 AM (EST) before Magistrate Judge

Michael G. Gotsch, Sr. Information about accessing the video conference will be sent to

the parties by electronic mail.

       This settlement conference represents a final effort to achieve a settlement of all

issues in the case; it is not designed to be a preliminary or intermediate step in the

settlement process. It is assumed that by the time of the scheduled conference the

parties will have made a concerted, but unsuccessful, effort to settle this case on their

own. This conference is not intended to replace settlement discussions and negotiations
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between counsel, nor is it intended to relieve the parties of their responsibility to arrive

at a settlement on their own without court intervention. If no settlement is reached

during the court’s conference, it is expected that no settlement will be possible in the

future and that the case can proceed to trial. The conference will be conducted in such a

manner as not to prejudice any party in the event settlement is not reached.

       In light of the Court’s precautions regarding the coronavirus (COVID-19), and

pending further order of the Court, all settlement conferences shall proceed by video

teleconference. Due to the courthouse restrictions, appearance in person shall not be

required; however, each party or an agent with full authority to settle shall participate

in the video teleconference. Should this requirement present any hardship, please reach

out to the court as soon as possible at the chambers email address:

gotsch_chambers@innd.uscourts.gov, indicating the circumstances and the relief

sought. Please include the case name and number in the reference line of any email

message sent to the above-listed chambers email address.

       At least fourteen (14) days prior to the conference, counsel shall engage in

meaningful settlement discussions which, at a minimum, shall include a reasonable

demand by Plaintiffs and a reasonable offer by Defendant. Failure to receive an offer or

demand from the other side does not excuse compliance with this requirement. During

or prior to these discussions, counsel for Plaintiffs shall provide counsel for Defendant

with a written breakdown of any demand for money damages. If a party’s settlement

position is based in whole or in part upon the opinion of a physician or other expert,

such opinion, along with any written report by the physician or expert, shall be


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disclosed to opposing party. Counsel are encouraged to make a concerted effort to settle

the case on their own prior to the formal settlement conference.

      On or before January 15, 2024, each party shall provide the court with a brief

confidential settlement memorandum. Under no circumstances will settlement

memoranda be disclosed to opposing counsel and shall not become part of the file of

the case, but shall be used exclusively by the magistrate judge in preparing for and

contributing to the mediation session. The following information shall be included in

the memorandum:

             1. A brief statement of the facts of the case, and of the claims and defenses,

      i.e., the statutory or other grounds upon which the claims are founded. This

      statement should identify the major factual and legal issues in dispute, and

      include an honest appraisal of the relative strengths and weaknesses of the case.

      Legal arguments should not be included unless they are absolutely critical to the

      evaluation and/or settlement of the case, and, if necessary to be included, shall

      be strictly limited to basic legal arguments. Copies of contracts, agreements,

      business records, photographs, or other tangible evidence may be attached to the

      confidential settlement memoranda if critical to the negotiations.

             2. A summary of settlement negotiations to date, including the results of

      the required discussions between counsel, the parties’ position on settlement,

      and the last settlement proposal tendered by a party, if any.

             3. The name and title of the individual(s) possessing ultimate decision-

      making authority with respect to settlement who will be attending the


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       conference, together with a certification by counsel that such person(s) have

       ultimate decision-making authority with respect to settlement.

       The memorandum should be mailed to Magistrate Judge Michael G. Gotsch, Sr.,

201 Robert A. Grant Courthouse, 204 S. Main St., South Bend, Indiana 46601 and be

marked CONFIDENTIAL on the envelope, or emailed to:

gotsch_chambers@innd.uscourts.gov.

       Also, please note that all federal courts are operating under heightened security

measures and COVID-19 screening protocol. Individuals entering this building will be

required to present picture identification, state the purpose of their visit and pass all

screening procedures. Visitors who are unable to present picture identification will not

be admitted to the courthouse. Counsel should advise their clients and all individuals

attending the settlement conference of these security requirements. Your cooperation

with these necessary procedures is greatly appreciated.

       SO ORDERED this 29th day of November 2023.



                                                  s/Michael G. Gotsch, Sr.
                                                  Michael G. Gotsch, Sr.
                                                  United States Magistrate Judge




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